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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

BIO GEN, LLC, DRIPPERS VAPE SHOP, LLC,                                      PLAINTIFFS
THE CIGARETTE STORE LLC d/b/a SMOKER
FRIENDLY, and SKY MARKETING
CORPORATION d/b/a HOMETOWN HERO,

v.                          Case No. 4:23-CV-718 (BRW)

GOVERNOR SARAH HUCKABEE SANDERS,                                         DEFENDANTS
in her official capacity; ATTORNEY GENERAL
JOHN TIMOTHY GRIFFIN
in his official capacity;
TODD MURRAY, SONIA FONTICIELLA,
DEVON HOLDER, MATT DURRETT,
JEFF PHILLIPS, WILL JONES, TERESA HOWELL,
BEN HALE, CONNIE MITCHELL, DAN TURNER,
JANA BRADFORD, FRANK SPAIN, TIM BLAIR,
KYLE HUNTER, DANIEL SHUE, JEFF ROGERS,
DAVID ETHREDGE, TOM TATUM, II,
DREW SMITH, REBECCA REED MCCOY,
MICHELLE C. LAWRENCE, DEBRA BUSCHMAN,
TONY ROGERS, NATHAN SMITH, CAROL CREWS,
KEVIN HOLMES, CHRIS WALTON,
and CHUCK GRAHAM, each in his or her official capacity
as a prosecuting attorney for the State of Arkansas;
JIM HUDSON, in his official capacity as director of the
ARKANSAS DEPARTMENT OF FINANCE
AND ADMINISTRATION; GREG SLED,
in his official capacity as director of the ARKANSAS
TOBACCO CONTROL BOARD; WES WARD,
in his official capacity as secretary of the ARKANSAS
DEPARTMENT OF AGRICULTURE; and
MATTHEW MARSH, in his official capacity as
chair of the ARKANSAS STATE PLANT BOARD

                              ENTRY OF APPEARANCE

       Comes, Jacob Oneal Sutter, of the law firm Hall Booth Smith, P.C., and hereby

enters his appearance in this action as counsel of record on behalf of Plaintiffs, BIO

GEN, LLC, DRIPPERS VAPE SHOP, LLC, THE CIGARETTE STORE LLC d/b/a

SMOKER FRIENDLY, and SKY MARKETING CORPORATION d/b/a HOMETOWN


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HERO,. The undersigned counsel respectfully requests that all Correspondence to the

Court, Pleadings, Discovery and Orders be served upon him at the address indicated

below.

                                                 Respectfully Submitted,



                                                 Jacob Oneal Sutter
                                                 HALL, BOOTH, SMITH P.C.
                                                 200 River Market Ave., Suite 500
                                                 Little Rock, AR 72201
                                                 Phone: 501-214-3499
                                                 Fax: 501-604-5566
                                                 jsutter@hallboothsmith.com
                                                 Counsel for Plaintiff
                                                 BIO GEN, LLC, DRIPPERS VAPE
                                                 SHOP, LLC, THE CIGARETTE STORE
                                                 LLC d/b/a SMOKER FRIENDLY, and
                                                 SKY MARKETING CORPORATION
                                                 d/b/a HOMETOWN HERO,

                             CERTIFICATE OF SERVICE

       I hereby certify that on April 5, 2024, I electronically filed the foregoing with the
Clerk of the Court using the Electronic Filing System, which shall send notification to all
attorneys of record.


                                                 Jacob Oneal Sutter




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